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                                                            U.S. Department of Justice


   <l1.l             -I:                                    Jason R. Dunn

    A       **   7 /                                        United States Attorney
                                                            District of Colorado

    Hetal J. Doshi                                         1801 California Street. Suite 1600   Telephone: 303-454-0100
   Assistant United Stales Attorney                        Denver. CO 80202                     Fax: 303-454-0405




                                                                                  October 1 6, 2020


    Via Email
    Jamie Hubbard, Esq.
    Counsel to Kimberley Tew
    Stimson, Stancil, LaBranche, Hubbard, LLC
    1652 North Downing Street
    Denver, CO, 80218

   hubbard@sslhlaw.com
    720.689.8909


   Dear Ms. Hubbard,


    I understand your client, Kimberley Tew, is interested in meeting with federal law enforcement
    agencies and the Criminal Division of the United States Attorney's Office for the District of
    Colorado for a proffer related to this office’s criminal investigation of conduct related to or
    arising out Ms. Tew’s financial transactions related to, directly or indirectly, with National Air
    Cargo, and subsequent transactions initiated by or for the benefit of, among others, Ms. Tew,
    either directly or indirectly. This letter sets out the terms for that proffer, to be scheduled soon
    and set to occur in Denver, and any follow up proffer sessions between the Criminal Division of
   the United States Attorney’s Office for the District of Colorado (“the government”), and you and
   your client.


    1.        Your client agrees that she will truthfully and completely disclose all information with
   respect to her activities and the activities of others that are the subject of inquiry by the
   government during the proffer. In this regard, your client must neither attempt to protect any
   person, entity, or asset through materially false information or omission, nor falsely implicate
   any person, entity, or asset. The only limited exception to this is that Ms. Tew has elected at this
   time not to answer questions that may specifically implicate her husband, Michael Tew. She has
   consulted with her counsel and understands that this decision could diminish the value, if any, of
    her cooperation. At a future time your client may be subpoenaed to testify before a federal grand
   jury, at trial, or in other court proceedings. You and your client understand that false statements


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    willfully made during this proffer will negate the Government's agreement not to use this
    proffered information against your client.


    2.       Except as set forth below, the government will not offer as evidence statements made by
    your client, or other information provided by your client during the proffer relating to the subject
    matter of the proffer, in (a) grand jury proceedings seeking an indictment against your client, (b)
    its case-in-chief at a trial against your client, or (c) at your client’s sentencing.


    3.       The government may use any statements made by your client or any information directly
    or indirectly derived from statements made by your client during the proffer for any other
    purpose, including (a) to obtain leads to other evidence that may be used against your client at
    any stage of a criminal prosecution, (b) in any prosecution of your client for perjury, false
    statements, or obstruction of justice, or (c) in a prosecution of your client for any crimes of
    violence, as defined in Title 18, United States Code, Section 16, or any conspiracy to commit a
    crime of violence. Provision (a) eliminates the need for a hearing at which the government
    would have to prove that the evidence it would introduce at trial is not tainted by any statements
    made by or other information provided by your client during the proffer. See Kastigar v. United
   States, 408 U.S. 931 (1972). It is the intent of this agreement to establish that such derivative use
    is proper. By signing this letter, your client expressly waives any right to challenge the
    derivative use of such statements or information.


   4.        The government may also use any statements made by your client during the proffer,
   either as evidence or for cross-examination, at trial or any other stage of the criminal
   prosecution, if your client later testifies, offers other evidence, or presents a position (including
   through affidavit or in argument) that contradicts statements made by your client during the
   proffer. By signing this letter, you and your client specifically agree that the government may
   use your client’s statements or information in the circumstances described above. See United
   States v. Mezzanatto, 513 U.S. 196 (1995).


   5.        Federal Rule of Criminal Procedure 1 1(f) and Federal Rule of Evidence 410 do not apply
   to any statements made by your client during the course of the proffer.


   6.        In the event evidence other than your client's own statements is developed, regardless of
   whether it is developed before or after the proffer, this agreement does not impart "transactional"
   immunity to your client or preclude the government from bringing charges against her in the
   future.


   7.        Your client understands that she is required to provide full and complete information
   about the subject matter of the proffer and any information about herself which might adversely
   impact on her credibility as a witness concerning such activity.



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   8.      This agreement does not obligate the government to enter into any future plea bargain
   with your client or to file any motion regarding cooperation provided by your client.


   9.      This agreement is not binding on the Civil Division of the United States Attorney’s
   Office for the District of Colorado, any other federal government office, or any other state, tribal,
   or local office or agency not specifically named in this agreement.


   No understandings, promises, or agreements have been entered into other than those set forth in
   this agreement, and nothing said during the proffer will constitute a promise or agreement unless
   all parties agree in writing.




                                                          Sincerely,


                                                          JASON R. DUNN
                                                          United States Attorney


                                                          s/ Hetal J. Doshi
                                                          By: Hetal J. Doshi
                                                          Assistant United States Attorney


   I, Kimberley Tew, have read this agreement and carefully reviewed it with my attorney.       I
   understand it, and I voluntarily, knowingly and willfully agree to it without force, threat or
   coercion. No other promises or inducements have been made to me other than those contained in
   this letter. 1 am satisfied with the representation of my attorney in this matter.




                   j
   Kimberley Tew                                          Date




   I acknowledge that I have read this proffer agreement, reviewed it with my client, and discussed
   fully with my client each of the provisions of the agreement.




   ’
   Jam e Hubbard            •-                            Date

   Counsel for Kimberley Tew




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